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EXHIBIT E
9/29/23, 8:08AM = Case 2:23-cv-01281-DSC-KT Documétit'6s*°F|] €ee9/29/23 Page 2 of 2

Franchise Tax Account Status
As of : 09/29/2023 07:07:59

This page is valid for most business transactions but is not sufficient for filings with the Secretary of State

ELITE CASINO EVENTS LLC

Texas Taxpayer Number
Mailing Address

@ Right to Transact Business in
Texas

State of Formation

Effective SOS Registration Date
Texas SOS File Number
Registered Agent Name
Registered Office Street Address

https://mycpa.cpa.state.tx.us/coa/coaSearchBtn#

32052320242
PO BOX 6755 FORT WORTH, TX 76115-0755

ACTIVE

TX

10/30/2013

0801872999

SEAN DAVIDSON

2205 NORTH HENDERSON AVE DALLAS, TX 75206

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